1
2
3
4
5
6
7
8                        UNITED STATES DISTRICT COURT
9                     SOUTHERN DISTRICT OF CALIFORNIA
10
11   APPLE INC.,                                   Case No.: 17cv108-GPC-MDD
12                                Plaintiff,
                                                   AMENDED SCHEDULING
13   v.                                            ORDER REGULATING
                                                   DISCOVERY
14   QUALCOMM INCORPORATED,
                                                   AND OTHER PRE-TRIAL
15                             Defendant.          PROCEEDINGS – NON-PATENT
                                                   CLAIMS
16
                                                   [ECF NO. 285]
17
18        On January 19, 2018, the parties filed a Joint Motion Regarding
19   Modification of Case Schedule. (ECF No. 285). At a motion hearing on
20   February 7, 2018, the Court heard from counsel and based thereon, finds
21   good cause to issue the following amended scheduling order:
22        1.    All fact discovery shall be completed by all parties by May 11,
23   2018.
24        2.    All expert disclosures required by Fed. R. Civ. P. 26(a)(2) shall be
25   served on all parties on or before June 1, 2018. Any contradictory or
26   rebuttal disclosures within the meaning of Rule 26(a)(2)(D)(ii) shall be
27   disclosed on or before June 29, 2018. Unless otherwise stipulated by the

                                               1
                                                                      17cv108-GPC-MDD
1    parties, the required expert disclosures shall include an expert report as
2    required by Rule 26(a)(2)(B). If a written report is not required, the
3    disclosure must provide the information required under Rule 26(a)(2)(C).
4         3.     All expert depositions shall be completed by all parties by August
5    10, 2018.
6         4.     All other partial or fully dispositive pretrial motions, including
7    those addressing Daubert issues related to dispositive motions must be filed
8    by June 22, 2018. Pursuant to Honorable Gonzalo P. Curiel’s Civil Pretrial
9    & Trial Procedures, all motions for summary judgment shall be accompanied
10   by a separate statement of undisputed material facts. Any opposition to a
11   summary judgment motion shall include a response to the separate
12   statement of undisputed material facts. Counsel for the moving party must
13   obtain a motion hearing date from the law clerk of the judge who will hear
14   the motion. Motion papers MUST be filed and served the same day of
15   obtaining a motion hearing date from chambers. A briefing schedule will be
16   issued once a motion has been filed. The period of time between the date you
17   request a motion date and the hearing date may vary. Please plan
18   accordingly. Failure to make a timely request for a motion date may result in
19   the motion not being heard.
20        5.     A Mandatory Settlement Conference shall be conducted upon joint
21   request of the parties.
22        6.     Pursuant to Honorable Gonzalo P. Curiel’s Civil Pretrial & Trial
23   Procedures, the parties are excused from the requirement of Local Rule
24   16.1(f)(2)(a); no Memoranda of Law or Contentions of Fact are to be filed.
25        7.     Counsel shall comply with the pre-trial disclosure requirements of
26   Fed. R. Civ. P. 26(a)(3) by August 31, 2018. Failure to comply with these
27   disclosure requirements could result in evidence preclusion or other sanctions

                                             2
                                                                        17cv108-GPC-MDD
1    under Fed. R. Civ. P. 37.
2         8.    Counsel shall meet and take the action required by Local Rule
3    16.1(f)(4) by September 7, 2018. At this meeting, counsel shall discuss and
4    attempt to enter into stipulations and agreements resulting in simplification
5    of the triable issues. Counsel shall exchange copies and/or display all exhibits
6    other than those to be used for impeachment. The exhibits shall be prepared
7    in accordance with Local Rule 16.1(f)(4)(c). Counsel shall note any objections
8    they have to any other parties’ Pretrial Disclosures under Fed. R. Civ. P.
9    26(a)(3). Counsel shall cooperate in the preparation of the proposed pretrial
10   conference order.
11        9.    Counsel for plaintiff will be responsible for preparing the pretrial
12   order and arranging the meetings of counsel pursuant to Civil Local Rule
13   16.1(f). By September 14, 2018, plaintiff’s counsel must provide opposing
14   counsel with the proposed pretrial order for review and approval. Opposing
15   counsel must communicate promptly with plaintiff’s attorney concerning any
16   objections to form or content of the pretrial order, and both parties shall
17   attempt promptly to resolve their differences, if any, concerning the order.
18        10.   The Proposed Final Pretrial Conference Order, including
19   objections to any other parties’ Fed. R. Civ. P. 26(a)(3) Pretrial Disclosures
20   shall be prepared, served and lodged with the assigned district judge by
21   September 21, 2018, and shall be in the form prescribed in and comply with
22   Local Rule 16.1(f)(6).
23        11.   The final Pretrial Conference is scheduled on the calendar of the
24   Honorable Gonzalo P. Curiel on September 28, 2018 at 1:30pm. The
25   Court will set a trial date during the pretrial conference. The Court will also
26   schedule a motion in limine hearing date during the pretrial conference.
27        12.   The parties must review the chambers’ rules for the assigned

                                             3
                                                                       17cv108-GPC-MDD
1    district judge and magistrate judge.
2         13.   A post trial settlement conference before a magistrate judge may
3    be held within 30 days of verdict in the case.
4         14.   The dates and times set forth herein will not be modified except
5    for good cause shown.
6         15.   Briefs or memoranda in support of or in opposition to all motions
7    noticed for the same motion day shall not exceed twenty-five (25) pages in
8    length, per party, without leave of the judge who will hear the motion. No
9    reply memorandum shall exceed ten (10) pages without leave of a district
10   court judge. Briefs and memoranda exceeding ten (10) pages in length shall
11   have a table of contents and a table of authorities cited.
12        16.   Plaintiff’s counsel shall serve a copy of this order on all parties
13   that enter this case hereafter.
14        IT IS SO ORDERED.
15
16   Dated: February 11, 2018
17
18
19
20
21
22
23
24
25
26
27

                                             4
                                                                        17cv108-GPC-MDD
